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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                         Civil Action No. ________________________________


  BRANDON LEIDEL, individually,
  and on behalf of All Others Similarly Situated; and
  JAMES D. SALLAH, ESQ., as Receiver/Corporate Monitor of
  Project Investors, Inc. d/b/a Cryptsy,

         Plaintiffs,

  v.

  COINBASE, INC., a Delaware corporation
  d/b/a Global Digital Asset Exchange (GDAX);

        Defendant.
  ________________________________________________/

                                        CLASS ACTION COMPLAINT

         Plaintiffs, BRANDON LEIDEL (“LEIDEL”), individually and on behalf of all other

  persons similarly situated (“Class Plaintiffs”), and JAMES D. SALLAH, ESQ., as

  Receiver/Corporate Monitor (the “Receiver”) of Project Investors, Inc. d/b/a Cryptsy (collectively

  the “Plaintiffs”), by and through undersigned counsel, hereby sue Defendant, COINBASE, INC.,

  a Delaware corporation d/b/a Global Digital Asset Exchange (GDAX), for damages and for

  equitable relief. In support thereof, Plaintiffs state as follows:

                                        PRELIMINARY STATEMENT

         1.        This nationwide class action is brought by Plaintiff LEIDEL, individually and on

  behalf of a class of similarly situated users (the “Class Members”) of Project Investors, Inc. d/b/a

  Cryptsy (“CRYPTSY”), a cryptocurrency exchange and Money Services Business based in South

  Florida that served clients located both in the United States and abroad.



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          2.       Additionally, this action is brought by the Receiver, who on April 4, 2016 was

  appointed by the United States District Court for the Southern District of Florida to serve as the

  Receiver/Corporate Monitor over the affairs and operations of CRYPTSY and to, inter alia,

  “administer and manage the business affairs, funds, assets, choses in action and any other property

  of [CRYPTSY]; marshal and safeguard all of CRYPTSY’s assets; and take whatever actions are

  necessary for the protection of CRYPTSY investors and customers.”1

          3.       At all material times, COINBASE operated an online business for general

  consumers and the public to exchange, invest, and trade in digital cryptocurrencies. Plaintiffs seek

  damages based upon the unlawful conduct of COINBASE in failing to properly monitor customer

  accounts that held investors’ money and ignoring its duty to investigate suspicious activities under

  U.S. anti-money laundering rules.

          4.       CRYPTSY and COINBASE should have been shining examples of the

  fundamental tenet of cryptocurrency: that without governmental regulation, a community of users

  can create and self-regulate a form of currency that serves as a viable – if not preferred -- alternative

  to traditional, government-backed currency.

          5.       Furthermore, CRYPTSY should have been a validation of COINBASE’s proof of

  concept: that a digital currency exchange is a legitimate business operation and that COINBASE

  could act as its liquidator. However, CRYPTSY instead proved that the loosely regulated, if not

  unregulated, cryptocurrency industry is still a haven for criminal activity and that those inside the

  industry oftentimes protect their fellow insiders.


  1
    See, Exhibit “A” hereto (April 4, 2016 “Order Granting Plaintiffs’ Renewed Motion for
  Appointment of James D. Sallah, Esq. as Receiver/Corporate Monitor over Defendant, Project
  Investors, Inc. d/b/a Cryptsy”). [Leidel, et al. v. Project Investors, Inc. d/b/a Cryptsy, Paul Vernon,
  and Lorie Ann Nettles, U.S. District Court - Southern District of Florida - Case No. 9:16-cv-80060-
  MARRA at Docket Entry No. (“DE”) 33] (the “Receivership Order”).
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         6.       As the facts demonstrate, an unregulated community is ripe for abuses; and even

  the purportedly upstanding members of that community – no matter how right-minded and

  honorable they appear to be on the surface – are prone to engage in criminal activity when they

  think they won’t be caught.

         7.       Plaintiffs and Class Members, and the Receiver, seek compensatory damages,

  exemplary and punitive damages where appropriate and allowed, and an injunction enjoining the

  continuation of Defendant’s unlawful conduct.

                                         GENERAL ALLEGATIONS

                                                     THE PARTIES

                                                        Plaintiffs

         8.       Plaintiff LEIDEL is an individual domiciled in Miami, Florida and is sui juris.

         9.       The Receiver is an attorney approved and appointed by the District Court to serve

  as the Receiver for CRYPTSY and its subsidiaries, successors, and assigns. As set forth in the

  Receivership Order, the Receiver is empowered to, inter alia:

              Initiate, defend, compromise, adjust, intervene in, dispose of, or become a
              party to any lawsuits or arbitrations in state, federal or foreign jurisdictions
              necessary to preserve or increase the assets of Cryptsy and/or on behalf of
              Cryptsy and for the benefit of its investors and customers against: (1) those
              individuals and/or entities which the Receiver may claim have wrongfully,
              illegally or otherwise improperly misappropriated, transferred or received
              any assets, properties, monies, proceeds or other items of value directly or
              indirectly traceable from Cryptsy, including Cryptsy and its officers,
              directors, employees, agents or any persons acting in concert or participation
              with them; or (2) any transfers of assets, properties, monies, proceeds or other
              items of value directly or indirectly traceable from Cryptsy investors or
              customers. Such actions may include, but not be limited to, seeking
              imposition of constructive trusts, seeking imposition of equitable liens,
              disgorgement of profits, recovery and/or avoidance of fraudulent transfers
              under Florida Statute § 726.101, et. seq. or otherwise, rescission and
              restitution, the collection of debts, and such Orders or other relief supported
              in law or equity from this Court as may be necessary to enforce this Order.


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                                                        Defendant

         10.       Defendant COINBASE is a Delaware corporation with its principal place of

  business in San Francisco, California. COINBASE holds itself out as a digital currency wallet and

  secure online platform where merchants and consumers can transact with new digital currencies

  like Bitcoin and Ethereum and where users can buy, sell, transfer, and store their digital currency.

         11.       COINBASE also holds itself out as a regulated and fully compliant entity,

  registered with the United States Department of the Treasury’s Financial Crimes Enforcement

  Network (“FinCEN”) as a Money Services Business, as that term is defined by FinCEN.

         12.       Since May 2016, COINBASE has been operating as Global Digital Asset Exchange

  (GDAX). GDAX is not registered with FinCEN.

         13.       According to published reports, COINBASE operates digital Bitcoin wallets for

  over 3 million people across the globe, including but not limited to wallet-holders in this District.

                                             JURISDICTION AND VENUE

                                            Subject Matter Jurisdiction

         14.       This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. § 1332, as amended by the Class Action Fairness Act of 2005, because the matter in

  controversy exceeds Five Million Dollars ($5,000,000.00), exclusive of interest and costs, and is

  a class action in which some members of the Class are citizens of different states than Defendant.

  See, 28 U.S.C. § 1332(a) and 1332(d)(2)(A). This Court also has supplemental jurisdiction over

  the state law claims pursuant to 28 U.S.C. § 1367.




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                                                Personal Jurisdiction

          15.      This Court has personal jurisdiction over Defendant because: (a) Defendant is

  operating, present, and/or doing business within this District, (b) Defendant resides within this

  jurisdiction, and (c) Defendant’s breaches and tortious activity occurred within this District.

          16.      Defendant is licensed by the Florida Office of Financial Regulation to conduct

  business as a Money Transmitter (Part II) in this state, and indeed conducts such business in the

  state of Florida. Moreover, according to FinCEN’s records, Florida is one of the states in which

  Defendant conducts business as a Money Services Business.

          17.      Additionally, Defendant entered into a contract with Florida residents CRYPTSY

  and Paul Vernon (CRYPTSY’s CEO) when CRYPTSY and Mr. Vernon resided in this District.

  Traditional monies and cryptocurrencies were routinely transferred by and between

  CRYPTSY/Mr. Vernon and Defendant -- including deposits by Defendant into CRYPTSY’s and

  Mr. Vernon’s bank accounts in Florida -- and Defendant was aware that CRYPTSY/Mr. Vernon

  were located here and did business here.

          18.      In light of the foregoing, Defendant has purposefully availed itself of the benefits

  of operating in this jurisdiction; and this Court may exercise personal jurisdiction over Defendant.

                                                           Venue

          19.      Venue is proper pursuant to 28 U.S.C. § 1391 in that: (a) Defendant resides in this

  judicial district, and (b) a substantial part of the events or omissions giving rise to the claims set

  forth herein occurred in this judicial district.

          20.      As noted above, Defendant “resides” in this judicial district as a Money Services

  Business that willfully and knowingly transacts business here.




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         21.          Furthermore, as described in greater detail herein, the theft of CRYPTSY customer

  funds and a substantial portion of Defendant’s assistance in laundering those stolen funds occurred

  in this judicial district, including Defendant’s transmittal of purloined funds to CRYPTSY’s and

  Mr. Vernon’s bank accounts in Florida.

         22.          In light of the foregoing, this District is a proper venue in which to adjudicate this

  dispute.

                             FACTUAL ALLEGATIONS APPLICABLE TO ALL COUNTS

                                                Paul Vernon and Cryptsy

         23.          Bitcoin is a virtual currency that may be traded on online exchanges for

  conventional currencies, including the U.S. Dollar, or used to purchase goods and services online.

  Bitcoin has no single administrator or central authority or repository.

         24.          On or about January 31, 2013, Paul Vernon (a/k/a Paul “Big Vern” Vernon)

  (“VERNON”) registered CRYPTSY as a “for profit” corporation in the State of Florida; and

  VERNON, by and through the corporation, began operating a website at the following web

  address: http://www.cryptsy.com.

         25.          At all times material hereto, VERNON resided in, operated, and directed

  CRYPTSY from, and interacted with COINBASE from, this District.

         26.          Also at all times material hereto, CRYPTSY, like COINBASE, has been registered

  with FinCEN as a Money Services Business.

         27.          CRYPTSY, as a Money Services Business, is obligated, inter alia, to keep certain

  financial records and allow free and unfettered access to consumer accounts. As demonstrated

  below, CRYPTSY has failed to do that.




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         28.       CRYPTSY solicited members of the public to register new accounts, deposit

  Bitcoin or other cryptocurrency with CRYPTSY, and thereafter actively engage in the exchange

  and trade of Bitcoin as well as other (alternate) cryptocurrencies.

         29.       After a new user created an account, the user was provided a unique digital address

  (known as a “cryptocurrency wallet address”). Each new user funded his or her account by

  transferring cryptocurrency assets to his or her unique address provided by CRYPTSY.

         30.       A user’s account, once populated with a cryptocurrency balance, could buy, sell, or

  trade in alternative cryptocurrencies. All denominations of account balances for a user were listed

  in Bitcoin denominations, commonly styled as “BTC.”

                               Coinbase is Licensed as a Money Transmitter

         31.       As noted above, COINBASE purports to provide cryptocurrency users a secure

  online location at which users can buy, sell, transfer, and store their digital currency.

         32.       COINBASE is licensed as a Money Transmitter in multiple states and territories

  across the United States (including, inter alia, Florida), but it is not a bank.

         33.       A Money Transmitter is required to maintain federal registration as a Money

  Services Business and comply with federal recordkeeping and reporting requirements under the

  auspices of FinCEN.

         34.       As a Money Transmitter in the State of Florida, for example, COINBASE is

  authorized to transmit currency, monetary value, or payment instruments, either by wire, facsimile,

  electronic transfer, courier, the internet, or through bill payment services or other businesses that

  facilitate such transfer, within this country or to or from locations outside this country.

         35.       Among the federal regulatory statutes, standards, and requirements with which a

  Money Services Business must comply is the Bank Secrecy Act.


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         36.       Notwithstanding the foregoing, a Money Services Business (defined in 31 CFR

  1010.100(ff)) is a materially different thing from a bank, which is defined in 31 CFR 1010.100(d).

  In fact, the Code of Federal Regulations (31 CFR 1010.100(ff)(8)(i)) specifically notes that the

  term “Money Services Business” shall not include a bank.

                    Coinbase Purports to be a Champion of Consumer Protection

         37.       In February 2014, Tokyo-based Mt. Gox -- one of the world’s leading Bitcoin

  exchanges -- halted its operations, blaming the disruption on technical issues and cyber-attacks.

  Mt. Gox later abruptly shuttered its business and filed for bankruptcy, claiming debts (including

  those owed to its customers) exceeding $64,000,000.00. Mt. Gox’s precipitous tumble caused the

  value of Bitcoin to plunge overnight and shook users’ confidence in the future stability of Bitcoin

  as a viable alternative currency.

         38.       In the wake of Mt. Gox’s collapse, COINBASE released a public statement

  pledging to “lead the way” in coming up with consumer-protection measures after the “tragic

  violation of the trust of users of Mt. Gox.” According to the statement:

                 responsible Bitcoin exchanges are working together and are committed to
                  the future of Bitcoin and the security of all customer funds.

                 Bitcoin operators play a critical role over the Bitcoin they hold as assets
                  for their customers. Acting as a custodian should require a high bar,
                  including appropriate security safeguards that are independently audited
                  and tested on a regular basis.

  COINBASE touted and positioned itself to be one of those “responsible Bitcoin exchanges.”

         39.       As set forth herein, COINBASE -- by such statements and its conduct in general --

  assumed a duty to protect and safeguard the Bitcoin of its exchange customers, such as CRYPTSY.

                                          Cryptsy’s Rise to Prominence

         40.       With Mt. Gox defunct, thousands of cryptocurrency users turned to CRYPTSY as

  their new, trusted cryptocurrency exchange.
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           41.      Barely one year after it was founded, CRYPTSY experienced significant growth in

  both its customer base and total online trades. According to published reports, CRYPTSY’s

  customer base in mid-2014 swelled to approximately 230,000 registered users; its trades per day

  exceeded 300,000; and it made available 150 different types of digital currencies for its users to

  trade.

           42.      CRYPTSY’s expansion, however, had its limits. CRYPTSY did not deal with fiat

  money (i.e., government-backed money such as the U.S. Dollar), and it needed a way to process

  fiat transactions for its users.

           43.      As VERNON was quoted in a 2014 news report: “Our concern is, and the

  government’s concern is, money laundering. So we need to kind of be the poster children of how

  to do [compliance] correctly. So I’m not going to launch [a fiat currency option] until I’m ready

  to be on the poster.”

           44.      Instead of having CRYPTSY launch its own fiat currency option, VERNON turned

  to COINBASE.

                 Cryptsy and Vernon’s Accounts at Coinbase Were Vehicles of Theft

           45.      CRYPTSY had an account in its name at COINBASE. Likewise, VERNON had

  an account in his own name at COINBASE.

           46.      CRYPTSY and VERNON informed COINBASE in or about July 2014 that instead

  of instituting a fiat currency option for CRYPTSY’s customers, CRYPTSY would continue to

  operate its crypto-to-crypto exchanges where its fees would be collected in Bitcoin and that

  CRYPTSY would use COINBASE to liquidate those Bitcoin (representing a portion of

  CRYPTSY’s revenues) into U.S. Dollars. COINBASE knew it was the only service provider that

  VERNON and CRYPTSY used for such purposes.


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         47.       From 2014 through 2016, CRYPTSY and VERNON transferred enough Bitcoin

  through COINBASE (approximately $8,300,000.00 USD) to rank among COINBASE’s top

  liquidators of Bitcoin.

         48.       COINBASE failed to perform adequate “anti-money laundering” and “know your

  client” (combined as “AML/KYC”) procedures, as those procedures are commonly known under

  FinCEN guidelines and enforcement rules.

         49.       From 2014 through 2016, CRYPTSY and VERNON liquidated Bitcoin through

  COINBASE for U.S. Dollars; however, the liquidated Bitcoin were not legitimately generated

  revenues. Instead, those Bitcoin were stolen from CRYPTSY users in a long-running fraudulent

  scheme that since collapsed under the weight of its own ill-conceived structure.

         50.       Unbeknownst to CRYPTSY users, CRYPTSY and VERNON were stealing Bitcoin

  from user accounts and liquidating those Bitcoin through both CRYPTSY’s and VERNON’s

  accounts at COINBASE.

         51.       Typically, CRYPTSY and VERNON would remove Bitcoin from individual

  CRYPTSY customer wallets, transfer those Bitcoin to a CRYPTSY “hot wallet”2 which VERNON

  controlled, send those purloined Bitcoin to either CRYPTSY’s COINBASE account or

  VERNON’s own COINBASE account, liquidate those Bitcoin within the respective COINBASE

  accounts, and then send the liquidated funds to a personal bank account at TD Bank that VERNON

  maintained jointly with his then-wife, Lorie Ann Nettles.

         52.       Shown graphically, the following is the path CRYPTSY and VERNON typically

  followed to steal CRYPTSY customer assets:




  2
    In the cryptocurrency world, a “hot wallet” is known as a bitcoin wallet that is connected to the
  Internet that allows for the instant payout of withdrawals on cryptocurrency exchanges.
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                           CRYPTSY CUSTOMER DEPOSITS FUNDS INTO
                                DESIGNATED CRYPTSY WALLET




                                CRYPTSY MIXES USER DEPOSITS INTO
                                 SEVERAL CRYPTSY "HOT" WALLETS




       VERNON TRANSFERS $8.2 MILLION IN BITCOIN TO COINBASE THROUGH
      HIS PERSONAL COINBASE ACCOUNT AND CRYPTSY'S COINBASE ACCOUNT




                          COINBASE LIQUIDATES THE BITCOIN,
                     AND NOW VERNON AND THE MONEY ARE MISSING


         53.      Over the course of approximately three years, CRYPTSY and VERNON deposited

  and liquidated $4,900,000.00 worth of Bitcoin through CRYPTSY’s COINBASE account.

         54.      Over the same period of time, CRYPTSY and VERNON deposited and liquidated

  $3,300,000.00 worth of Bitcoin through VERNON’s COINBASE account.

         55.      CRYPTSY and VERNON told COINBASE that the $4,900,000.00 deposited and

  liquidated through CRYPTSY’s COINBASE account represented a portion of the revenues

  CRYPTSY had generated from its business, which CRYPTSY told COINBASE was the byproduct

  of the 0.3% transaction fee CRYPTSY assessed its customers for the value of each transaction in

  which the customers engaged at CRYPTSY.

         56.      VERNON also told COINBASE that the $3,300,000.00 deposited and liquidated

  through his personal COINBASE account represented Bitcoin that VERNON himself had mined

  and that he personally owned.


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         57.        Based on the number of assets deposited and liquidated through CRYPTSY’s

  COINBASE account, with full knowledge that CRYPTSY charged its customers a 0.3%

  transaction fee on the value of each transaction, COINBASE could not have reasonably believed

  that CRYPTSY was conducting nearly $1,700,000,000.00 USD in cryptocurrency exchange

  trading business over the stated time period.

         58.        Likewise, COINBASE could not have reasonably believed that VERNON had

  personally mined and owned the $3,300,000.00 USD he deposited and liquidated through his

  personal COINBASE account.

     Coinbase Failed to Adequately Investigate Cryptsy and Vernon’s Coinbase Accounts
                      and Willfully Blinded Itself to Obvious Red Flags

         59.        In or about June 2014, suspicions arose at COINBASE about the high volume of

  activity taking place in the CRYPTSY and VERNON accounts at COINBASE.

         60.        Notwithstanding the regulatory requirements COINBASE faced as a Money

  Services Business under the FinCEN division of the U.S. Treasury Department, COINBASE

  merely performed a cursory review of the accounts held by CRYPTSY and VERNON and asked

  only a few benign questions about the suspicious activity.

         61.        In response to COINBASE’s perfunctory inquiry, VERNON claimed Bitcoin

  liquidated through his COINBASE account were his own and were derived through his personal

  mining efforts.

         62.        Without follow-up or verification, COINBASE accepted CRYPTSY and

  VERNON’s hollow responses.

         63.        COINBASE failed to request from VERNON origination wallet addresses and a

  confirmation transaction to verify the veracity of his claims that he mined the Bitcoin.



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         64.       Had COINBASE even cursorily audited or reviewed the blockchain3 history of the

  Bitcoin deposited into VERNON’s COINBASE account, it would have been open and obvious to

  COINBASE that VERNON’s statements were completely without merit. The following examples

  demonstrate the open and obvious information available to COINBASE:

                            USER                    USER BTC                          COINBASE LIQUIDATES
                         DEPOSITED               TRANSFERRED TO                        BTC AND DEPOSITS IN
                           BTC AT                VERNON PERSON                            VERNON BANK
                          CRYPTSY               COINBASE ACCOUNT                            ACCOUNT
      USER A
      10/9/2014                 284                            285                                      
      USER B                   1006                           3007                                      
      4/14/2014




  3
   The blockchain is the equivalent of a shared public ledger that includes all Bitcoin transactions
  so that traders can confirm that sellers actually own the Bitcoins being transacted.
  4
    User A sent 20 Bitcoins
  (f18bda97c350c829fb40cdbb48ded0af1941159ee86190b2065a14ded797aa2e) and 8 additional
  Bitcoins (5a141f76a4ced439e681a95952a9a42dae584686d31929a989d7ba846fcc0fd7) to
  Cryptsy via deposit address of 13m1FqXBh9nrfsgMKPWncoDWvv6T6f2q5K.
  5
    User A’s 28 BTC was then sent to VERNON’s personal Coinbase account at
  14ETojkW9Jif1N5XzMRYhjhgGZUimn7e3j
  (0150f87f4a9771ca21df81f6cae2e917a88cd530d272529e2a23f76be113ca9a).
  6
    User B sent 100 Bitcoins
  (703f79f29df6d3932e257011418873255a2f0776afbdc4f59df502ee7640cf77) to Cryptsy via
  deposit address of: 12go4DtJ33UtK2zYXJ2P5nPVPjyhhRSHH9.
  7
    User B’s 100 Bitcoins were commingled with 9 other users’ deposits totaling 300 Bitcoins and
  were sent to an address in VERNON’s personal Coinbase account:
  1UBXwWBGLtSmSLCCZs8MaTk44Q3L5H8u6
  (5662e5d320aaf57e39f98c0823e54179785f1461a85e327cbac8e4e54861aa0a).
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        USER C                   28                           3509                                      
       01/20/2015
        USER D                13.510                         10011                                      
       02/14/2015
        USER E                  612                           2013                                      
       03/16/2015




  8
    User C sent 2 Bitcoins
  (49b5443cb4adcaf9a586ca88db1d1fef3ba7e61ec69949f294f73dfe2e3cc7ca) to Cryptsy via
  deposit address of: 1H4iiGxAqPVh4vMPW2f2TAepD2A4S3q4M1.
  9
    On January 21, 2015, User C’s 2 Bitcoins were moved along with 15 other users’ Bitcoin (25
  total Bitcoin) to the following address: 1MSijnGgNRFKJAMweRcPCbF8whSpdyDUkm
  (2ed18eb2d96e241391a5b24d519d3591918330ea12e622471af3497c46c5a64e).
  Two days later -- on January 23, 2015 -- those 25 Bitcoin were combined with 14 other similar
  transactions totaling 350 Bitcoin from the address
  1MSijnGgNRFKJAMweRcPCbF8whSpdyDUkm. Those 350 Bitcoin were all moved to an
  address in VERNON’s personal Coinbase account:
  14ETojkW9Jif1N5XzMRYhjhgGZUimn7e3j.
  10
    User D sent 10 Bitcoin
  (79f320476e7b92c3ba522195dac63b180c4cd7090327ad55795231848cca5bd5) and 3.5185
  Bitcoin (da5d393e3751469a9e55ba3601e5068856c8c9361155a4fdf13a06fe1016b30d) to
  Cryptsy via the following deposit address: 15GgUD9rfEUFktuoeQ3cQmQjvtWx81aAhW.
  11
     On February 15, 2015, User D’s Bitcoins were commingled with 60 other users’ deposits
  totaling 100 Bitcoin and were moved to an address in VERNON’s personal Coinbase account:
  1EzK7T326C3eU3pi4MWFDzUptg143vV4K5
  (ed04e92706a0d7aa635dc2a363ffcb3fae7ce8267f2b166ab047a13f6366e5b6). That same day,
  those 100 Bitcoin were sold; and $22,216.76 was deposited into VERNON’s personal bank
  account at TD Bank in Florida.
  12
    User E sent 6.5 Bitcoins
  (c3ebb5d291b7b2d7767fec0ff232f2a048b4bd63597c19f0a54ac74f3d91afe7) to Cryptsy via
  deposit address of: 1B4c4MwjwoSfayteqQdtP9EePVhHvtjFNH.
  13
    Also on March 16, 2015, User E’s Bitcoin were moved along with 5 other users’ deposits (20
  Bitcoin in all) to the following address in VERNON’s personal Coinbase account:
  1Naz8JLF8STQbZ9hqAVn8wej8pMKGW5v1x
  (8d4497e13aac272c5f6ea0cf70f0f11e70507f357a0a55d216e8e64006603575). Later that day,
  the 20 Bitcoin were sold; and $5,798.45 was deposited into VERNON’s personal bank account at
  TD Bank in Florida.
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         65.      For CRYPTSY and VERNON, COINBASE made specific exceptions to its internal

  procedures; because CRYPTSY and VERNON were “high volume” customers, as evidenced in

  internal communications at COINBASE.

         66.      COINBASE purposely conducted a curtailed and inadequate investigation of

  CRYPTSY and VERNON’s activities because COINBASE was making a large profit from

  CRYPTSY and VERNON’s COINBASE transactions.

         67.      COINBASE knew its investigation into CRYPTSY and VERNON was inadequate

  and accepted that inadequacy in favor of its own profit, turning a blind eye to CRYPTSY’s and

  VERNON’s fraudulent scheme, knowing all the while that at such time COINBASE was in a

  position to know of such unlawful conduct.

         68.      It was not until almost a year-and-a-half later (October 2015) that COINBASE

  terminated CRYPTSY and VERNON’s accounts at COINBASE in view of some media reports

  detailing wrongdoing taking place at CRYPTSY.

         69.      Before COINBASE terminated CRYPTSY and VERNON’s accounts at

  COINBASE, though, CRYPTSY and VERNON were able to convert approximately

  $8,200,000.00 of assets from CRYPTSY users – laundering those assets through COINBASE so

  that CRYPTSY and VERNON could convert assets in CRYPTSY customer accounts into cash in

  VERNON’s personal bank account.

         70.      COINBASE had a unique window into CRYPTSY and VERNON’s scheme and

  watched it play out as millions of dollars’ worth of Bitcoin were stolen from CRYPTSY customers.

                      Coinbase Aided and Abetted Cryptsy and Vernon’s Theft

         71.      COINBASE knew or should have known that the assets being liquidated through

  its exchange did not rightfully belong to either CRYPTSY or VERNON.


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         72.       COINBASE knew or should have known that the assets being liquidated through

  its exchange were not profits garnered by CRYPTSY in the normal operation of its business.

         73.       Instead, COINBASE knew, or should have known, that the assets being liquidated

  through its exchange belonged to CRYPTSY account holders and were being converted by

  CRYPTSY and VERNON.

         74.       COINBASE turned a blind eye to the crimes that it facilitated. COINBASE

  provided an array of essential liquidation services as a Money Services Business to CRYPTSY

  and VERNON with the knowledge that it was enabling CRYPTSY and VERNON to commit

  crimes and convert CRYPTSY client assets.

         75.       COINBASE’s services served as a vital element of CRYPTSY and VERNON’s

  fraudulent scheme, and COINBASE was aware of its complicity in the fraud.

         76.       COINBASE knew that it was required by federal law to disclose and report

  CRYPTSY and VERNON’s activities to law enforcement authorities and federal regulators,

  including FinCEN. However, to preserve its own profitable participation in CRYPTSY and

  VERNON’s scheme -- from which COINBASE received fees -- COINBASE knowingly turned a

  blind eye to CRYPTSY and VERNON’s criminal activities until, in late-2015, COINBASE

  ultimately decided to terminate its relationship with CRYPTSY and VERNON.

         77.       COINBASE had the power, which it exercised, to control the general affairs of

  CRYPTSY and VERNON during the relevant time period and had the power, which it exercised,

  to directly or indirectly control or influence the specific transactions of CRYPTSY and VERNON

  which resulted in their primary violations of law.

         78.       COINBASE also had the duty to stop CRYPTSY and VERNON’s crimes, yet it

  refused to do so because COINBASE was more interested in enriching itself, even if it meant


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  furthering CRYPTSY and VERNON’s crimes and allowing CRYPTSY and VERNON to cause

  massive financial losses to hundreds if not thousands of CRYPTSY users -- many of whom are

  COINBASE customers as well.

         79.       As a Money Services Business, COINBASE has strict obligations under the

  Currency and Foreign Transactions Reporting Act of 1970 a/k/a the Bank Secrecy Act (the “BSA”)

  to monitor customer transactions and report any suspicious activities to law enforcement

  authorities. See 31 U.S.C. § 5311; 12 C.F.R. § 208.63. The USA Patriot Act of 2001 (the “Patriot

  Act”) reinforced this obligation and underscored the importance of implementing robust internal

  systems to detect and report money laundering and other suspicious activities. The regulations

  promulgated pursuant to the Patriot Act require financial institutions to institute an anti money-

  laudering (“AML”) program that includes four pillars: (i) designating an individual or individuals

  responsible for managing BSA compliance; (ii) a system of policies, procedures, and internal

  controls to ensure ongoing compliance; (iii) training for appropriate personnel; and (iv)

  independent testing of compliance. 12 C.F.R. § 208.63.

         80.       For Money Services Businesses to comply with these obligations, the institutions

  have a legal obligation to fully understand their customer’s business. This “know your customer”

  (“KYC”) duty is imposed pursuant to 12 C.F.R. § 208.62. Institutions viewing account activity

  need a baseline against which to distinguish account activity that may be normal for a particular

  industry from account activity that might suggest an illegal enterprise. The KYC duty pre-dated

  the Patriot Act. Not only was it suggested by such guidelines as the Federal Reserve’s BSA

  Examination Manual of 1995 and Supervisory Letter on Private Banking Activities, SR 97-19

  (SUP), but it was standard industry practice.




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         81.       At all relevant times, CRYPTSY and VERNON used COINBASE as their primary

  liquidator and deposited and liquidated the stolen CRYPTSY client assets through CRYPTSY and

  VERNON’s COINBASE accounts.

         82.       Until late-2015 -- at which time COINBASE finally closed CRYPTSY and

  VERNON’s accounts -- CRYPTSY and VERNON liquidated and laundered over $8 Million

  representing Plaintiffs’ and other CRYPTSY customers’ assets.

         83.       COINBASE knew that the activity being undertaken by CRYPTSY and VERNON

  was illegal. When COINBASE asked CRYPTSY and VERNON for information corroborating

  the legitimacy of the high volume of assets that were flowing through CRYPTSY and VERNON’s

  COINBASE accounts, CRYPTSY and VERNON gave patently ridiculous explanations that no

  reasonable Money Services Business would accept.

         84.       Despite the lack of credibility in the responses given, COINBASE took no steps for

  approximately 18 months to shut CRYPTSY and VERNON out as COINBASE customers or to

  expose the illegal activities to law enforcement authorities.

         85.       No matter how inexplicable the transaction, COINBASE dutifully and

  unflinchingly executed every single request from CRYPTSY and VERNON during the relevant

  time period; and COINBASE profited on a daily basis from the criminal conduct. CRYPTSY and

  VERNON were maintaining account balances preposterously suggesting that they owned and

  controlled assets approaching $1,700,000,000.00 in value, and COINBASE did not have the

  institutional moral fiber to turn down a customer who could offer the profits COINBASE could

  generate from those account balances.




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                 Coinbase Eagerly Became Cryptsy and Vernon’s Co-Conspirator

          86.      To run their illegal scheme, CRYPTSY and VERNON needed a Money Services

  Business to: (a) provide a depository for the pilfered Bitcoin, (b) liquidate the stolen Bitcoin, and

  (c) provide CRYPTSY customers with a sense that CRYPTSY was operating a legitimate business.

          87.      What CRYPTSY and VERNON also needed was a Money Services Business that

  would be hospitable to fraudsters -- that is, an MSB that, for a price, was willing to overlook

  CRYPTSY and VERNON’s suspicious activity, ignore the excessive account activity, and ignore

  its own obligations under federal law.

          88.      COINBASE ignored the fact that the activity in CRYPTSY and VERNON’s

  COINBASE accounts was grossly excessive and purported to represent an inordinate share of the

  Bitcoin market.

          89.      Additionally, COINBASE ignored the simple verification process that the

  blockchain -- which is the immutable backbone of cryptocurrency -- provided.

          90.      COINBASE failed to verify that the Bitcoin being presented by CRYPTSY and

  VERNON actually derived from legitimate sources -- something that could have been easily

  verified.

          91.      In or about June 2014, COINBASE requested information from VERNON as to the

  source of Bitcoin deposited into VERNON’s COINBASE account.

          92.      Shortly thereafter, VERNON replied, stating that the Bitcoin originated from his

  activities prior to CRYPTSY and were from his own mining activities.

          93.      Under the Bank Secrecy Act, COINBASE has a duty to inquire and/or report if

  suspicious activity is involved in transmitting money.




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          94.        COINBASE often and repeatedly transmitted money for CRYPTSY and

  VERNON.

          95.        COINBASE received money from VERNON and converted it into Bitcoin.

          96.        Upon information and belief, from May 21, 2013 to December 4, 2015, VERNON

  initiated over 800 transactions that obligated COINBASE to make some form of inquiry as to the

  legitimacy and legality of the transaction, and COINBASE routinely failed to make the necessary

  inquiry, to wit:

                     (a) COINBASE received two transactions from VERNON, each exceeding
                         $100,000.00 in value, and made no inquiry,

                     (b) COINBASE received eight transactions from VERNON, each between
                         $50,000.00 and $84,000.00 in value, and made no inquiry,

                     (c) COINBASE received 33 transactions from VERNON, each between
                         $20,000.00 and $49,999.00 in value, and made no inquiry,

                     (d) COINBASE received 56 transactions from VERNON, each between
                         $10,000.00 and $19,999.00 in value, and made no inquiry, and

                     (e) COINBASE received 115 transactions from VERNON, each between
                         $3,000.00 and $9,999.00 in value, and made no inquiry.

          97.        On or about June 14, 2014, the date of COINBASE’s request for information from

  VERNON and CRYPTSY, COINBASE had processed no less than 8,293 Bitcoin through

  VERNON’s personal account. VERNON’s COINBASE account had a balance of .04 Bitcoin and

  $40,916.00 U.S. Dollars.

          98.        As of June 14, 2014, COINBASE had processed $1,222,788.00 USD of value

  through VERNON’s account and sent only one e-mail inquiry to VERNON and CRYPTSY.

          99.        From June 14, 2014 until the time COINBASE finally closed VERNON’s account,

  COINBASE processed no less than 26,516 Bitcoin through VERNON’s personal COINBASE

  account.


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         100.      From June 14, 2014 until the time COINBASE finally closed VERNON’s account,

  COINBASE processed no less than $6,007,155.00 USD of value through VERNON’s account

  while liquidating over $3,000,000.00 USD into VERNON’s personal TD Bank account in Florida.

         101.      At any point in time, with the power of the Blockchain ledger at COINBASE’s

  disposal, and with the additional benefit of knowing the starting point of a transaction (VERNON’s

  COINBASE wallet), COINBASE could have looked back at every transaction leading up to the

  deposit into VERNON’s account to verify that the items being liquidated were legitimately

  sourced.

         102.      As an example of the information available to COINBASE:

                   (a) On or about October 13, 2014, VERNON transferred 150 Bitcoin into
                       his            COINBASE              wallet              (address
                       14ETojkW9Jif1N5XzMRYhjhgGZUimn7e3j – hereinafter the
                       “VERNON COINBASE WALLET”).

                   (b) The transfer was completed and recorded in the Bitcoin blockchain and
                       is easily searchable on the internet through tools such as
                       https://blockchain.info, an internet website used to access information
                       in the Bitcoin blockchain.

                   (c) The aforementioned transaction identification, or “hash,” is
                       79b5acc1e60828b5b5c684aa2c7c88ba9f08d51218d33ac952f2239624c
                       29953

                   (d) A simple entry of the aforementioned “hash” into the search bar at
                       https://blockchain.info would reveal that the 150 Bitcoin came from one
                       wallet address: 1MSijnGgNRFKJAMweRcPCbF8whSpdyDUkm
                       (hereinafter the “CRYPTSY DUkm WALLET” or “DUkm).”

                   (e) Upon information and belief, the DUkm wallet was a “Hot Wallet” used
                       to store CRYPTSY client funds.

                   (f) Using https://blockchain.info, any user could click on the DUkm wallet
                       address and discover that over 2,000 BTC have traveled through that
                       wallet.

                   (g) As of October 2014, when 150 BTC (over $50,000.00 USD) was
                       transferred into the VERNON COINBASE WALLET, an examination
                       of the CRYPTSY DUkm WALLET would have revealed nearly a

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                       thousand micro transactions, consolidating fractions of Bitcoin into
                       larger sums of 5, 10, or 25 Bitcoin at a time. By way of analogy, this
                       would be akin to an automated account sweep. For example:

                           1) Customer A deposits .45 BTC into his CRYTPSY account.

                           2) Customer B deposits .01 BTC into her CRYPTSY account.

                           3) Customers C through Z deposit a total of 4.54 BTC into their
                              own individual CRYPTSY accounts.

                           4) CRYPTSY would take all BTC from all accounts
                              simultaneously and move them into the CRYPTSY DUkm
                              WALLET.

         103.     COINBASE not only would have been able to verify the source and destination of

  each transaction, but would have been able to see that VERNON sent $250,000.00 in BTC

  transactions to VERNON’s COINBASE wallet in less than a month.

         104.     Vernon told COINBASE that he derived his funds from mining activities; however,

  none of the transactions within 35 links of funds in the DUkm wallet were mined coins.

         105.     Freshly mined Bitcoins appear in the blockchain with the identifying label “No

  Inputs (Newly Generated Coins)” as follows14:




  14
    None of the coins listed below were involved in any transaction alleged. The transaction is
  simply included as a demonstration to disprove VERNON’s patently false statements.
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             106.     Every transaction COINBASE received from VERNON into a COINBASE wallet

  could have been researched and evaluated as demonstrated above.

             107.     It was not reasonable, during the time VERNON was moving Bitcoin into the

  VERNON COINBASE WALLET, for COINBASE to believe that the transactions it received were

  a result of anything other than aggregated account sweeps from CRYPTSY customers in light of

  the fact that COINBASE knew that VERNON controlled CRYPTSY account funds.

                      Coinbase Quietly Terminated Cryptsy and Vernon’s Accounts

             108.     In October 2015, a media report asserted that the U.S. Securities and Exchange

  Commission, the Internal Revenue Service, FinCEN, the Department of Homeland Security, and

  other governmental agencies had officially launched multiple investigations into CRYPTSY’s

  business operations under heightened suspicions that CRYPTSY was engaged in a wide-spread

  fraudulent scheme for inappropriately gained licenses, market manipulation, selling unlicensed

  securities, money laundering, and many other financial violations.

             109.     In response to the information set forth in the article, COINBASE inquired of

  CRYPTSY and VERNON whether the allegations were true.

             110.     Despite CRYPTSY and VERNON’s denial of the allegations, COINBASE quietly

  terminated CRYPTSY and VERNON’s accounts within days of the media report’s release.

             111.     COINBASE did not disclose to any of the governmental authorities purportedly

  investigating CRYPTSY the results of COINBASE’s own investigation into the allegations in the

  article.

             112.     COINBASE also made no public statement that it had repudiated its relationship

  with CRYPTSY and VERNON or that it had reported to the governmental authorities any

  suspicious activity of CRYPTSY and VERNON.


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         113.      COINBASE simply employed a quiet exit strategy that separated itself from

  CRYPTSY and VERNON while seeking to shield itself from scrutiny of its own.

         114.      Such scrutiny is well-deserved, though, as CRYPTSY and VERNON’s theft would

  not have succeeded without cooperation and assistance from COINBASE.

                            FACTS SPECIFIC TO INVESTOR PLAINTIFFS

         115.      Plaintiff LEIDEL, on August 13, 2014, deposited 3.9409 BTC to initially fund his

  CRYPTSY account. The value of that deposit was approximately $2,112.32.

                                             CLASS ALLEGATIONS
         116.      A class action is the proper form to bring Class Plaintiffs’ claims under FRCP 23.

  The potential class is so large that joinder of all members would be impractical. Additionally,

  there are questions of law or fact common to the class, the claims or defenses of the representative

  parties are typical of the claims or defenses of the class, and the representative parties will fairly

  and adequately protect the interests of the class.

         117.      Class Plaintiffs bring this nationwide class action pursuant to Rule 23 of the Federal

  Rules of Civil Procedure on behalf of themselves and all members of the following class:

                       All CRYPTSY account owners who: (1) deposited Bitcoins,
                       alternative cryptocurrencies, or any other form of monies or
                       currency at CRYPTSY, (2) had such currency liquidated by
                       VERNON and CRYPTSY through COINBASE, and (3) have been
                       denied access to their accounts and funds between May 22, 2014 and
                       the present date. The Class asserts claims under California law as
                       set forth in Counts I-IV below.

         118.      This action satisfies all of the requirements of Federal Rules of Civil Procedure,

  including numerosity, commonality, predominance, typicality, adequacy, and superiority.

                                                       Numerosity

         119.      Members of the Class are so numerous and geographically dispersed that joinder of

  all members is impractical.
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            120.     While the exact number of class members remains unknown at this time, upon

  information and belief, there are at least hundreds if not thousands of putative Class members.

            121.     Again, while the exact number is not known at this time, it is easily and generally

  ascertainable by appropriate discovery.

            122.     It is impractical for each class member to bring suit individually.

            123.     Class Plaintiffs do not anticipate any difficulties in managing this action as a class

  action.

                                          Commonality and Predominance

            124.     There are many common questions of law and fact involving and affecting the

  parties to be represented.

            125.     When determining whether common questions predominate, courts focus on the

  issue of liability; and if the issue of liability is common to the class and can be determined on a

  class-wide basis, as in the instant matter, common questions will be held to predominate over

  individual questions.

            126.     Common questions include, but are not limited to, the following:

                     (a) Whether COINBASE has converted the funds belonging to Class
                         Plaintiffs and the Class Members;

                     (b) Whether COINBASE owed duties to Class Plaintiffs and the Class,
                         what the scope of those duties were, and whether COINBASE breached
                         those duties;

                     (c) Whether COINBASE’s conduct was unfair or unlawful;

                     (d) Whether COINBASE aided and abetted CRYPTSY’s breach of
                         fiduciary duties;

                     (e) Whether COINBASE breached its duty of reasonable care as a money
                         services business and a member of FinCEN;

                     (f) Whether COINBASE has been unjustly enriched;


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                    (g) Whether Class Plaintiffs and the Class have sustained damages as a
                        result of COINBASE’s conduct; and

                    (h) Whether Class Plaintiffs and the Class are entitled to injunctive relief.

           127.     These common questions of law or fact predominate over any questions affecting

  only individual members of the Class.

                                                         Typicality

           128.     Class Plaintiffs’ claims are typical of those of the other Class Members because,

  inter alia, all members of the Class were injured through the common misconduct described above

  and were subject to Defendant’s unfair and unlawful conduct.

           129.     Class Plaintiffs are advancing the same claims and legal theories on behalf of

  themselves and all members of the Class.

                                            Adequacy of Representation

           130.     Class Plaintiffs will fairly and adequately represent and protect the interests of the

  Class in that they have no disabling conflicts of interest that would be antagonistic to those of the

  other members of the Class.

           131.     Class Plaintiffs are committed to the vigorous prosecution of this action and have

  retained competent counsel, experienced in complex consumer class action litigation of this nature,

  to represent them.

           132.     Class Plaintiffs seek no relief that is antagonistic or adverse to the members of the

  Class.

           133.     The infringement of the rights and the damages Class Plaintiffs have each suffered

  are typical of other Class members.

           134.     To prosecute this case, Class Plaintiffs have chosen the law firms of Silver Law

  Group and Wites & Kapetan, P.A. These firms are experienced in class action litigation and have

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  the financial and legal resources to meet the substantial costs and legal issues associated with this

  type of litigation.

                                                       Superiority

          135.     Class action litigation is an appropriate method for fair and efficient adjudication

  of the claims involved herein.

          136.     Class action treatment is superior to all other available methods for the fair and

  efficient adjudication of the controversy alleged herein; as it will permit a large number of Class

  Members to prosecute their common claims in a single forum simultaneously, efficiently, and

  without the unnecessary duplication of evidence, effort, and expense that hundreds of individual

  actions would require.

          137.     Class action treatment will permit the adjudication of relatively modest claims by

  certain Class Members, who could not individually afford to litigate a complex claim against a

  well-funded corporate defendant like COINBASE.

          138.     Further, even for those Class Members who could afford to litigate such a claim, it

  would still be economically impractical.

          139.     The nature of this action and the nature of laws available to Class Plaintiffs make

  the use of the class action device a particularly efficient and appropriate procedure to afford relief

  to Class Plaintiffs and the Class for the wrongs alleged because:

                   (a) Defendant would necessarily gain an unconscionable advantage if it
                       were allowed to exploit and overwhelm the limited resources of each
                       individual Class member with superior financial and legal resources;

                   (b) The costs of individual suits could unreasonably consume the amounts
                       that would be recovered;

                   (c) Proof of a common course of conduct to which Class Plaintiffs were
                       each exposed is representative of that experienced by the Class and will
                       establish the right of each member of the Class to recover on the cause
                       of action alleged;
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                   (d) Individual actions would create a risk of inconsistent results and would
                       be unnecessary and duplicative of this litigation;

                   (e) The Class Members are geographically dispersed all over the world,
                       thus rendering it inconvenient and an extreme hardship to effectuate
                       joinder of their individual claims into one lawsuit;

                   (f) There are no known Class Members who are interested in individually
                       controlling the prosecution of separate actions; and

                   (g) The interests of justice will be well served by resolving the common
                       disputes of potential Class Members in one forum.

         140.      Class Plaintiffs reserve the right to modify or amend the definition of the proposed

  class and to modify, amend, or create proposed subclasses before the Court determines whether

  certification is appropriate and as the parties engage in discovery.

         141.      The class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy.

         142.      Because of the number and nature of common questions of fact and law, multiple

  separate lawsuits would not serve the interest of judicial economy.

         143.      As a result of the foregoing, Class Plaintiffs and the Class Members have been

  damaged in an amount that will be proven at trial.

                                  FACTS SPECIFIC TO THE RECEIVER

         144.      The Receiver is the duly appointed and acting Receiver/Corporate Monitor for

  CRYPTSY.

         145.      VERNON has been ousted from control of, and no longer maintains any beneficial

  interest in, CRYPTSY.

         146.      CRYPTSY is no longer VERNON’s “evil zombie,” focused on doing harm to its

  account holders and stealing from them the cryptocurrency they had entrusted to CRYPTSY.




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          147.     The Receiver is not bound by VERNON’s improper actions in engineering the

  fraud perpetrated upon CRYPSTY account holders.

          148.     The Receiver is prosecuting this action on behalf of the individual claimholders

  whose assets were stolen by the since-removed VERNON, who dominated CRYPTSY and used

  the company for his own illegal purposes.

          149.     Plaintiffs and the Receiver have duly performed all of their duties and obligations,

  and any conditions precedent to Plaintiffs and the Receiver bringing this action have occurred,

  have been performed, or else have been excused or waived.

          150.     To enforce their rights, Plaintiffs and the Receiver have retained undersigned

  counsel and are obligated to pay counsel a reasonable fee for its services, for which Defendant is

  liable as a result of its bad faith and otherwise.

           COUNT I – AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                          [Class Plaintiffs against Defendant]

          Class Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1-143 and 149-150

  above, and further allege:

          151.     CRYPTSY breached its fiduciary duties to Plaintiffs and the Class Members, as set

  forth above.

          152.     COINBASE knew that CRYPTSY owed fiduciary and other obligations to

  Plaintiffs and the Class Members.

          153.     COINBASE knew that CRYPTSY was breaching its fiduciary and other

  obligations to Plaintiffs and the Class Members by engaging in the conduct alleged above.

          154.     With such knowledge, COINBASE knowingly participated, aided and abetted, and

  otherwise substantially assisted to bring about CRYPTSY’s breach of fiduciary obligations.



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         155.      COINBASE rendered substantial and knowing assistance to CRYPTSY in its

  breach of fiduciary duties by, among other things: (a) providing monetary services to CRYPTSY

  and CRYPTSY’s users, (b) disregarding overtly suspicious activity indicative of misconduct, (c)

  clearing exorbitant amounts of cryptocurrency for CRYPTSY that put CRYPTSY among

  COINBASE’s highest volume users, (d) failing to report to governmental and regulatory

  authorities incidents of excessive activity in CRYPTSY’s COINBASE account, (e) vouching for

  CRYPTSY in letters while withholding the fact that CRYPTSY was mishandling CRYPTSY

  investor funds, and (f) sitting silently while CRYPTSY made numerous false and misleading

  material omissions related to the funds custodised by CRYPTSY for its account holders --

  including Plaintiffs and the Class Members -- knowing that Plaintiffs and the Class Members

  would rely on those material omissions to their detriment.

         156.      COINBASE’s wrongful conduct was done purposefully and maliciously or

  recklessly, without regard for the rights and interests of Plaintiffs and the Class Members.

         157.      As a direct and proximate cause of COINBASE’s conduct, Plaintiffs and the Class

  Members have been damaged.

                       COUNT II – AIDING AND ABETTING CONVERSION
                               [Class Plaintiffs against Defendant]

         Class Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1-143 and 149-150

  above, and further allege:

         158.      VERNON asserted dominion and control over the property of CRYPTSY’s account

  holders by misappropriating and then liquidating for his own personal use and benefit through the

  COINBASE accounts maintained by CRYPTSY and VERNON assets belonging to CRYPTSY

  account holders.



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         159.      COINBASE had actual and/or constructive knowledge of CRYPTSY and

  VERNON’s acts in misappropriating CRYPTSY customer assets by virtue of the suspicious,

  excessive, and unverifiable activity which was transacted through CRYPTSY and VERNON’s

  accounts at COINBASE.

         160.      COINBASE rendered substantial assistance to CRYPTSY and VERNON by

  ignoring its own internal policies and procedures and by violating the federal regulations with

  which COINBASE, as a Money Services Business, had to comply, as more fully identified above.

         161.      As a direct and proximate cause of COINBASE’s conduct, Plaintiffs and the Class

  Members have been damaged.

                                        COUNT III – NEGLIGENCE
                                      [Class Plaintiffs against Defendant]

         Class Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1-143 and 149-150

  above, and further allege:

         162.      COINBASE owed Plaintiffs and the Class Members a duty of care to use reasonable

  care in performing its duties as a depository of CRYPTSY and VERNON’s accounts, including,

  among other things, the duty to: (a) properly open, establish, and maintain CRYPTSY and

  VERNON’s accounts at COINBASE; (b) ensure that no unauthorized transfers or withdrawals

  from CRYPTSY and VERNON’s COINBASE accounts were implemented or paid; (c) monitor

  CRYPTSY and VERNON’s COINBASE accounts for excessive or suspicious activity; and (d)

  comply with all other reporting requirements applicable to CRYPTSY and VERNON’s

  COINBASE accounts under state and federal law.

         163.      COINBASE breached those duties by failing to: (a) perform its obligations,

  including by failing to ensure that no unauthorized transfers or withdrawals from CRYPTSY and

  VERNON’s COINBASE accounts were implemented or paid; (b) acknowledge, report, and

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  prevent misappropriation in CRYPTSY and VERNON’s COINBASE accounts through

  withdrawals and transfers; (c) conduct reasonable inquiry into the activities in CRYPTSY and

  VERNON’s COINBASE accounts even though aware of serious irregularities and excessive

  activity; and (d) failing to comply with all other reporting requirements applicable to CRYPTSY

  and VERNON’s COINBASE accounts under state and federal law.

         164.      As a direct and proximate cause of COINBASE’s conduct, Plaintiffs and the Class

  Members have been damaged.

                                   COUNT IV – UNJUST ENRICHMENT
                                    [Class Plaintiffs against Defendant]

         Class Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1-143 and 149-150

  above, and further allege:

         165.      Class Plaintiffs and the proposed Class conferred a benefit upon COINBASE by

  depositing valuable cryptocurrency into CRYPTSY’s care, which COINBASE knew or should of

  known was being stolen by VERNON and CRYPTSY and liquidated at COINBASE for the benefit

  of VERNON.

         166.      As a result of COINBASE’s unfair, misleading, and unlawful conduct alleged

  herein, COINBASE has unjustly received and retained benefits at the expense of Class Plaintiffs

  and the proposed Class.

         167.      Under principles of equity and good conscience, COINBASE should not be

  permitted to retain valuable funds belonging to Class Plaintiffs and the proposed Class that they

  unjustly received as result of COINBASE’s unfair, misleading, and unlawful conduct alleged

  herein without providing compensation to Class Plaintiffs and the proposed Class.

         168.      Class Plaintiff and the proposed Class have suffered financial loss as a direct and

  proximate result of COINBASE’s conduct.

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         169.      Class Plaintiffs and proposed Class Members are entitled to restitution of,

  disgorgement of, and/or the imposition of a constructive trust upon all profits, benefits, and other

  compensation obtained by COINBASE and for such other relief that this Court deems proper.

          COUNT V – AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                            [Receiver against Defendant]

         Receiver re-alleges, and adopts by reference herein, Paragraphs 1-114 and 144-150 above,

  and further alleges:

         170.      CRYPTSY breached its fiduciary duties to Receiver as set forth above.

         171.      COINBASE knew that CRYPTSY owed fiduciary and other obligations to

  Receiver.

         172.      COINBASE knew that CRYPTSY was breaching its fiduciary and other

  obligations to Receiver by engaging in the conduct alleged above.

         173.      With such knowledge, COINBASE knowingly participated, aided and abetted, and

  otherwise substantially assisted to bring about CRYPTSY’s breach of fiduciary obligations.

         174.      COINBASE rendered substantial and knowing assistance to CRYPTSY in its

  breach of fiduciary duties by, among other things: (a) providing monetary services to CRYPTSY

  and CRYPTSY’s users, (b) disregarding overtly suspicious activity indicative of misconduct, (c)

  clearing exorbitant amounts of cryptocurrency for CRYPTSY that put CRYPTSY among

  COINBASE’s highest volume users, (d) failing to report to governmental and regulatory

  authorities incidents of excessive activity in CRYPTSY’s COINBASE account, (e) vouching for

  CRYPTSY in letters while withholding the fact that CRYPTSY was mishandling CRYPTSY

  investor funds, and (f) sitting silently while CRYPTSY made numerous false and misleading

  material omissions related to the funds custodised by CRYPTSY for its account holders --



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  including Receiver -- knowing that Receiver would rely on those material omissions to their

  detriment.

         175.      COINBASE’s wrongful conduct was done purposefully and maliciously or

  recklessly, without regard for the rights and interests of Receiver.

         176.      As a direct and proximate cause of COINBASE’s conduct, Receiver has been

  damaged.

                      COUNT VI – AIDING AND ABETTING CONVERSION
                                 [Receiver against Defendant]

         Receiver re-alleges, and adopts by reference herein, Paragraphs 1-114 and 144-150 above,

  and further alleges:

         177.      VERNON asserted dominion and control over the property of CRYPTSY’s account

  holders by misappropriating and then liquidating for his own personal use and benefit through the

  COINBASE accounts maintained by CRYPTSY and VERNON assets belonging to CRYPTSY

  account holders.

         178.      COINBASE had actual and/or constructive knowledge of CRYPTSY and

  VERNON’s acts in misappropriating CRYPTSY customer assets by virtue of the suspicious,

  excessive, and unverifiable activity which was transacted through CRYPTSY and VERNON’s

  accounts at COINBASE.

         179.      COINBASE rendered substantial assistance to CRYPTSY and VERNON by

  ignoring its own internal policies and procedures and by violating the federal regulations with

  which COINBASE, as a Money Services Business, had to comply, as more fully identified above.

         180.      As a direct and proximate cause of COINBASE’s conduct, Receiver has been

  damaged.



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                                         COUNT VII – NEGLIGENCE
                                          [Receiver against Defendant]

         Receiver re-alleges, and adopts by reference herein, Paragraphs 1-114 and 144-150 above,

  and further alleges:

         181.      COINBASE owed Receiver a duty of care to use reasonable care in performing its

  duties as a depository of CRYPTSY and VERNON’s accounts, including, among other things, the

  duty to: (a) properly open, establish, and maintain CRYPTSY and VERNON’s accounts at

  COINBASE; (b) ensure that no unauthorized transfers or withdrawals from CRYPTSY and

  VERNON’s COINBASE accounts were implemented or paid; (c) monitor CRYPTSY and

  VERNON’s COINBASE accounts for excessive or suspicious activity; and (d) comply with all

  other reporting requirements applicable to CRYPTSY and VERNON’s COINBASE accounts

  under state and federal law.

         182.      COINBASE breached those duties by failing to: (a) perform its obligations,

  including by failing to ensure that no unauthorized transfers or withdrawals from CRYPTSY and

  VERNON’s COINBASE accounts were implemented or paid; (b) acknowledge, report, and

  prevent misappropriation in CRYPTSY and VERNON’s COINBASE accounts through

  withdrawals and transfers; (c) conduct reasonable inquiry into the activities in CRYPTSY and

  VERNON’s COINBASE accounts even though aware of serious irregularities and excessive

  activity; and (d) failing to comply with all other reporting requirements applicable to CRYPTSY

  and VERNON’s COINBASE accounts under state and federal law.

         183.      As a direct and proximate cause of COINBASE’s conduct, Receiver has been

  damaged.




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                                  COUNT VIII – UNJUST ENRICHMENT
                                      [Receiver against Defendant]

         Receiver re-alleges, and adopts by reference herein, Paragraphs 1-114 and 144-150 above,

  and further alleges:

         184.      Receiver and the proposed Class conferred a benefit upon COINBASE by

  depositing valuable cryptocurrency into CRYPTSY’s care, which COINBASE knew or should of

  known was being stolen by VERNON and CRYPTSY and liquidated at COINBASE for the benefit

  of VERNON.

         185.      As a result of COINBASE’s unfair, misleading, and unlawful conduct alleged

  herein, COINBASE has unjustly received and retained benefits at the expense of Receiver.

         186.      Under principles of equity and good conscience, COINBASE should not be

  permitted to retain valuable funds belonging to Class Receiver and the proposed Class that they

  unjustly received as result of COINBASE’s unfair, misleading, and unlawful conduct alleged

  herein without providing compensation to Receiver.

         187.      Receiver has suffered financial loss as a direct and proximate result of

  COINBASE’s conduct.

         188.      Receiver is entitled to restitution of, disgorgement of, and/or the imposition of a

  constructive trust upon all profits, benefits, and other compensation obtained by COINBASE and

  for such other relief that this Court deems proper.

                                              PRAYER FOR RELIEF

         WHEREFORE, Class Plaintiffs, individually and on behalf of all others similarly situated,

  and the Receiver, respectfully pray for relief as follows:

         (a) A declaration from this Court that this action is a proper class action, including
             certification of the proposed Class, appointment of Class Plaintiffs as class
             representatives, and appointment of Class Plaintiffs’ counsel as class counsel;

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          (b) A judgment awarding Class Plaintiffs and the Class Members, and the Receiver,
              restitution, including, without limitation, disgorgement of all profits and unjust
              enrichment that Defendant obtained as a result of its unlawful, unfair, and
              unlawful business practices and conduct;

          (c) A judgment awarding Class Plaintiffs and the Class Members, and the Receiver,
              actual compensatory damages;

          (d) A judgment awarding Class Plaintiffs and the Class Members, and the Receiver,
              exemplary and punitive damages for Defendant’s knowing, willful, and
              intentional conduct;

          (e) Pre-judgment and post-judgment interest;

          (f) Attorneys’ fees, expenses, and the costs of this action; and

          (g) All other and further relief as this Court deems necessary, just, and proper.


                               PLAINTIFFS’ DEMAND FOR JURY TRIAL

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs and the Receiver

  demand trial by jury in this action of all issues so triable.


                                                                     Respectfully submitted,

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                                                                     By:
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                                                                                - and -


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                                                                             MARC A. WITES
                                                                             Florida Bar No. 024783
                                                                             E-mail: mwites@wklawyers.com

                                                                    Counsel for Plaintiffs and James D. Sallah, Esq.,
                                                                     as Receiver/Corporate Monitor of
                                                                     Project Investors, Inc. d/b/a Cryptsy

  Dated: December 13, 2016




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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 9:16-cv-80060-MARRA


  BRANDON LEIDEL, individually, and
  MICHAEL WILSON, individually, and on behalf
  of All Others Similarly Situated,

          Plaintiffs,

  v.

  PROJECT INVESTORS, INC. d/b/a CRYPTSY, a Florida corporation,
  PAUL VERNON, individually, and
  LORIE ANN NETTLES, individually,

        Defendants.
  ______________________________________________/

                ORDER GRANTING PLAINTIFFS’ RENEWED MOTION
       FOR APPOINTMENT OF JAMES D. SALLAH, ESQ. AS RECEIVER/CORPORATE
        MONITOR OVER DEFENDANT, PROJECT INVESTORS, INC. d/b/a CRYPTSY

          WHEREAS, Plaintiffs, BRANDON LEIDEL and MICHAEL WILSON, individually,

  and on behalf of all others similarly situated (collectively “Plaintiffs”), have filed a Renewed

  Motion for Appointment of James D. Sallah, Esq. as Receiver/Corporate Monitor over

  Defendant, Project Investors, Inc. d/b/a Cryptsy [DE 18] (the “Motion”);

          WHEREAS, a receiver or corporate monitor is requested with full and exclusive power,

  duty and authority to administer and manage the business affairs, funds, assets, choses in action

  and any other property of Project Investors, Inc. d/b/a Cryptsy (“Cryptsy”); marshal and

  safeguard all of Cryptsy’s assets; and take whatever actions are necessary for the protection of

  Cryptsy investors and customers;

          WHEREAS, Plaintiffs have submitted the credentials of a candidate to be appointed as

  receiver or corporate monitor for Cryptsy, including its assets, properties, books and records and


                                     EXHIBIT "A"
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  other items of Cryptsy as described below, and the candidate is prepared to assume this

  responsibility if so ordered by this Court;

         WHEREAS, this Court has subject matter jurisdiction over this action and personal

  jurisdiction over Cryptsy. Venue properly lies in this Court;

         WHEREAS, Defendants Project Investors Inc., d/b/a Cryptsy and Lorie Ann Nettles

  have been served with process and have appeared in this case or have been defaulted as of this

  Order; while Defendant Paul Vernon, individually, has not been yet served or appeared;

         WHEREAS, this Court conducted a hearing on the Motion on March 28, 2016, at which

  time Defendant, Lorie Ann Nettles, through counsel, represented that she has no objection to the

  Motion or the appointment of a receiver or corporate monitor;

         WHEREAS, Plaintiffs have made a sufficient and proper showing in support of the

  Motion and the appointment of a receiver or corporate monitor; and

         IT IS THEREFORE ORDERED AND ADJUDGED as follows:

                          I. Appointment of Receiver/Corporate Monitor

         1.      The appointment of a receiver or corporate monitor for Cryptsy is appropriate.

         2.      Until further Order of this Court, James D. Sallah, Esq. is hereby approved and

  appointed to serve as the Receiver/Corporate Monitor (interchangeably referred to herein as

  “Receiver” or “Corporate Monitor” or “Receiver/Corporate Monitor”) for Cryptsy and its

  subsidiaries, successors and assigns.

                                            II. Asset Freeze

         3.      This Court hereby takes exclusive jurisdiction and possession of the assets, of

  whatever kind and wherever situated, of Cryptsy for the purpose of preserving its assets.




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          4.      Except as otherwise specified herein, all assets of Cryptsy are frozen until further

  Order of this Court. Accordingly, all persons and entities with direct or indirect control over any

  assets of Cryptsy, other than the Receiver, are hereby restrained and enjoined from directly or

  indirectly transferring, setting off, receiving, changing, selling, pledging, assigning, liquidating,

  or otherwise disposing of, or withdrawing, such assets. This freeze shall include, but not be

  limited to, assets of Cryptsy that are on deposit with financial institutions such as banks,

  cryptocurrency exchanges, clearing firms or any other third party.

                                   III. General Powers and Duties

          5.      The Receiver shall have all powers, authorities, rights and privileges heretofore

  possessed by the officers or directors of Cryptsy under applicable state and federal law, as well

  as by Cryptsy’s governing charters, by-laws, articles and/or agreements.

          6.      The powers of the officers, directors, employees, and agents of Cryptsy are

  hereby suspended. Such persons and entities shall have no authority with respect to Cryptsy’s

  operations or assets, except to the extent as may hereafter be expressly granted by the Receiver.

  The Receiver shall assume and control the operations of Cryptsy and shall pursue and preserve

  all of its claims.

          7.      No person holding or claiming any position of any sort with Cryptsy shall possess

  any authority to act by or on behalf of Cryptsy, unless so instructed by the Receiver.

          8.      The Receiver shall have the following general powers and duties:

          A. Use reasonable efforts to determine the nature, location and value of all property
             interests of Cryptsy, including, but not limited to, cryptocurrencies, monies, funds,
             securities, credits, effects, goods, chattels, lands, premises, leases, claims, rights and
             other assets, together with all rents, profits, dividends, interest or other income
             attributable thereto, of whatever kind, which Cryptsy owns, possesses, has a
             beneficial interest in, or controls directly or indirectly;




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        B. Immediately take custody, control and possession of all of Cryptsy’s property and
           records relevant thereto; to sue for and collect, recover, receive and take into
           possession from third parties all property of Cryptsy and records relevant thereto;

        C. Manage, control, operate and maintain Cryptsy and hold in his possession, custody
           and control all property of Cryptsy, pending further Order of this Court;

        D. Use property of Cryptsy, making payments and disbursements and incurring expenses
           as may be necessary or advisable in the ordinary course of business in discharging his
           duties as Receiver in maintaining the ordinary operations of Cryptsy;

        E. Take any action which, prior to the entry of this Order, could have been taken by the
           officers, directors, employees, and agents of Cryptsy with respect to maintaining its
           ordinary operations;

        F. Continue the normal operations of Cryptsy or alternatively to suspend, wind down or
           stop its operations;

        G. Take such action as necessary and appropriate for the preservation of property of
           Cryptsy or to prevent the dissipation or concealment of property of Cryptsy;

        H. Pursue, resist and defend all suits, actions, claims and demands which may now be
           pending or which may be brought by or asserted against Cryptsy;

        I. Take immediate and exclusive custody, control and possession of all
           cryptocurrencies, monies, funds, property, and other assets in the possession of, or
           under the control of, Cryptsy, wherever situated that the Receiver has a reasonable
           basis to believe is related to this action. The Receiver shall have full power to sue for,
           collect, receive and take possession of all goods, chattels, rights, credits, moneys,
           effects, land, leases, books, records, work papers, and records of accounts, including
           computer-maintained information and digital data and other papers and documents.
           Title to all of the above items wherever located are vested by operation of law in the
           Receiver;

        J. Enter and inspect the business premises of Cryptsy and to take documents or other
           property related to Cryptsy;

        K. Preserve, hold and manage all receivership assets, and perform all acts necessary to
           preserve the value of those assets, in order to prevent any loss, damage or injury to
           investors or customers of Cryptsy;

        L. Prevent the withdrawal or misapplication of funds entrusted to Cryptsy, and otherwise
           protect the interests of investors or customers of Cryptsy;

        M. Collect all money owed to Cryptsy;

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        N. Initiate, defend, compromise, adjust, intervene in, dispose of, or become a party to
           any lawsuits or arbitrations in state, federal or foreign jurisdictions necessary to
           preserve or increase the assets of Cryptsy and/or on behalf of Cryptsy and for the
           benefit of its investors and customers against: (1) those individuals and/or entities
           which the Receiver may claim have wrongfully, illegally or otherwise improperly
           misappropriated, transferred or received any assets, properties, monies, proceeds or
           other items of value directly or indirectly traceable from Cryptsy, including Cryptsy
           and its officers, directors, employees, agents or any persons acting in concert or
           participation with them; or (2) any transfers of assets, properties, monies, proceeds or
           other items of value directly or indirectly traceable from Cryptsy investors or
           customers. Such actions may include, but not be limited to, seeking imposition of
           constructive trusts, seeking imposition of equitable liens, disgorgement of profits,
           recovery and/or avoidance of fraudulent transfers under Florida Statute § 726.101, et.
           seq. or otherwise, rescission and restitution, the collection of debts, and such Orders
           or other relief supported in law or equity from this Court as may be necessary to
           enforce this Order;

        O. Request permission from this Court to extend the receivership over any person or
           entity who received transfers of assets, properties, monies, proceeds or other items of
           value derived from Cryptsy or its investors or customers and to give the Receiver
           possession of such;

        P. Choose, engage, and employ attorneys, accountants and other reasonable agents or
           professionals, as the Receiver deems advisable or necessary in the performance of his
           duties and responsibilities. The Receiver and his professionals shall be entitled to
           reasonable compensation from the assets now held by Cryptsy or ultimately secured
           by the Receiver. Said compensation shall be commensurate with their duties and
           obligations under the circumstances, subject to approval of this Court;

        Q. Issue subpoenas to obtain documents pertaining to the receivership and conduct
           discovery in this action on behalf of the receivership estate. The Receiver is
           authorized to take expedited discovery from parties and nonparties. Parties shall
           produce documents, answer interrogatories and/or answer requests for admissions
           within seven (7) calendar days of service of the Receiver’s discovery requests.
           Parties shall sit for deposition within seven (7) calendar days of the Receiver’s notice.
           The Receiver is authorized to serve subpoenas on nonparties through electronic
           means (including electronic mail and/or facsimile transmission), U.S. Mail, Federal
           Express, other commercial overnight service, or personal service to expedite the
           requested discovery. Documents from nonparties shall be produced to the Receiver
           within three (3) calendar days of service of the subpoena. Nonparties shall sit for
           deposition within five (5) calendar days of the Receiver’s notice;

        R. Open one or more bank account or any other type of account as designated
           depositories for funds of Cryptsy. The Receiver shall deposit all funds of Cryptsy in
           such designated accounts and shall make all payments and disbursements from the

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               receivership estate from such accounts. The Receiver is authorized to invest
               receivership funds in U.S. Treasury securities, money market funds or other interest-
               bearing accounts as appropriate in the Receiver’s judgment;

         S. Make payments and disbursements from the receivership estate that are necessary or
            advisable for carrying out the directions of, or exercising the authority granted by,
            this Order;

         T. Close out all outstanding positions and/or hold such assets without further Order;

         U. Close, disable or otherwise shut down Cryptsy’s current website and re-direct to, or
            create, a new website for purposes of the receivership;

         V. Advise this Court should it be determined that additional powers are necessary to
            protect the interests of Cryptsy or for the benefit of its investors and customers under
            the circumstances; and

         W. Take such other action as may be approved by this Court.

                                      IV. Access to Information

         9.       Cryptsy and its past and/or present officers, directors, employees and agents, as

  well as those acting in its place, are hereby ordered and directed to preserve and turn over to the

  Receiver forthwith all paper and electronic information of, and/or relating to, Cryptsy and/or its

  property; such information shall include, but not be limited to, books, records, documents,

  accounts, electronically stored information, passcodes, and all other instruments and papers.

         10.      Cryptsy’s past and/or present officers, directors, employees and agents, and other

  appropriate persons or entities, shall answer under oath to the Receiver all questions which he

  may put to them and produce all documents as required by him regarding the business of

  Cryptsy, or any other matter relevant to the operation or administration of Cryptsy.

                             V. Access to Books, Records and Accounts

         11.      The Receiver is authorized to take immediate possession of any and all accounts,

  including financial accounts, books and records, electronically stored information, passcodes,

  and all other documents or instruments relating to Cryptsy.

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         12.     Any persons receiving notice of this Order by personal service, electronic mail,

  facsimile transmission, or otherwise, having possession of the property, business, books, records,

  accounts, electronically stored information, passcodes, or assets of Cryptsy are hereby directed to

  immediately deliver the same to the Receiver, his agents, his attorneys and/or his employees.

         13.     All banks, cryptocurrency exchanges, clearing firms, financial institutions, and

  other persons or entities which have possession, custody or control of any assets,

  cryptocurrencies, monies, funds or accounts held by, in the name of, or for the benefit of, directly

  or indirectly, Cryptsy that receive actual notice of this Order by personal service, electronic mail,

  facsimile transmission or otherwise shall:

     A. Not liquidate, transfer, sell, convey or otherwise transfer any assets, cryptocurrencies,
        monies, funds, and/or accounts in the name of Cryptsy or for the benefit of its investors
        and customers, except upon instructions from the Receiver;

     B. Not exercise any form of set-off, alleged set-off, lien, or any form of self-help
        whatsoever, or refuse to transfer any assets, cryptocurrencies, monies, funds, and/or
        accounts to the Receiver’s control without the permission of this Court; and

     C. Cooperate expeditiously in providing information and assets, cryptocurrencies, monies,
        funds, and/or accounts to the Receiver or at the direction of the Receiver.

                                  VI. Access to Personal Property

         14.     The Receiver is authorized to take immediate possession of all personal property

  of Cryptsy, wherever located, including, but not limited to, electronically stored information,

  passcodes, computers, laptops, hard drives, external storage drives, and any other such memory,

  media or electronic storage devices, books, papers, data processing records, evidence of

  indebtedness, bank records and accounts, cryptocurrency exchange records and accounts,

  clearing firm records and accounts, savings records and accounts, brokerage records and

  accounts, cryptocurrencies, certificates of deposit, stocks, bonds, debentures, investments,




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  contracts, mortgages, furniture, office supplies and equipment. All records of Cryptsy shall be

  made available to the Receiver.

         15.     The Receiver is authorized to open all mail -- including electronic mail -- directed

  to or received by or at the offices or post office boxes of Cryptsy, and to inspect all mail opened

  prior to the entry of this Order, to determine whether items or information therein fall within the

  mandates of this Order.

         16.     The Receiver may seek the assistance of any Sheriff or the United States Marshal

  Service, in any judicial district, to assist the Receiver in carrying out his duties to take

  possession, custody and control of, or identify the location of, any assets, cryptocurrencies,

  monies, funds, accounts, records, electronically stored information, or other materials belonging

  to Cryptsy to the extent any Sheriff or the United States Marshal may be authorized to carry out

  such actions. The Receiver shall pay any fees or charges required by any Sheriff or the United

  States Marshal to perform such actions.

                                      VII. Delivery to Receiver

         17.     Immediately upon service of this Order upon them, Defendants and any other

  person or entity served with a copy of this Order shall, immediately or within such time as

  permitted by the Receiver in writing, deliver over to the Receiver:

         A.      Possession and custody of all assets, cryptocurrencies, monies, funds and/or
                 accounts belonging to Cryptsy, its investors, or its customers;

         B.      Possession and custody of documents of Cryptsy, including, but not limited to, all
                 books and records of accounts, all financial and accounting records, balance
                 sheets, income statements, bank records (including monthly statements, canceled
                 checks, records of wire transfers, and check registers), investor lists, loan
                 documents, title documents, electronically stored information, and other papers;

         C.      All keys, computer passwords, entry codes, PIN numbers and combinations to
                 locks necessary to gain or to secure access to any of the assets, cryptocurrencies,
                 monies, funds, accounts and/or documents of Cryptsy, including, but not limited

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                  to, access to business premises, means of communication, accounts, computer
                  systems, websites, or other property; and

          D.      Information identifying the accounts, employees, properties or other assets or
                  obligations of Cryptsy.

                                 VIII. Cooperation with Receiver

          18.     Defendants, their officers, directors, employees and agents, and all other persons

  or entities served with a copy of this Order, shall cooperate fully with and assist the Receiver in

  the performance of the Receiver’s duties. This cooperation and assistance shall include, but not

  be limited to, providing any information to the Receiver that the Receiver deems necessary to

  exercising the authority and discharging the responsibilities of the Receiver under this Order; and

  advising all persons who owe money to Cryptsy that all debts should be paid directly to the

  Receiver. However, this requirement does not impinge on any person’s right to assert applicable

  privileges.

          19.     Any officers or directors of Cryptsy will be available to assist and advise the

  Receiver, but will not exercise their traditional functions or assume their traditional duties during

  the period that the Receiver is appointed.

                                               IX. Accounting

          20.     Defendants who have access to the appropriate documents and records shall

  prepare, sign and submit to the Receiver, within thirty (30) calendar days, a complete and

  accurate accounting for the period of January 1, 2013 to the date of such accounting, which shall

  be no earlier than the date of this Order. Such accounting shall include, without limitation, the

  identification of:

          A.      All banks, financial and cryptocurrency institutions, including account numbers
                  and passcodes/login information, which hold or have held cryptocurrencies,
                  monies, funds, commodity interests, assets, liabilities, and other property



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                  currently and previously owned or controlled (legally, equitably or otherwise)
                  directly or indirectly by Cryptsy, whether individually or jointly;

          B.      All cryptocurrencies, monies, funds, commodity interests, real estate, assets,
                  liabilities, and other property currently or previously owned or controlled (legally,
                  equitably or otherwise) directly or indirectly by Cryptsy, whether individually or
                  jointly;

          C.      All cryptocurrencies, monies, funds, commodity interests, real estate, assets,
                  liabilities, and other property received directly or indirectly by Cryptsy,
                  describing the source, amount, disposition, and current location of each listed
                  item;

          D.      All cryptocurrencies, monies, funds, commodity interests, real estate, assets,
                  liabilities, and other property transferred or otherwise disposed of directly or
                  indirectly by Cryptsy, describing the source, amount, disposition, and current
                  location of each listed item, including accounts or assets of Cryptsy held by any
                  bank, cryptocurrency exchange, clearing firm, brokerage firm or other financial
                  institution located inside and/or outside the territorial United States;

          E.      All investors and customers of Cryptsy, including name, address, telephone
                  number and email, account number, deposit and withdrawal dates and amounts;
                  and

          F.      The name and last known address of each bailee, debtor or other person or entity
                  currently holding any cryptocurrencies, monies, funds, commodity interests, real
                  estate, assets, liabilities, and other property owned or controlled (legally,
                  equitably or otherwise) by Cryptsy, whether individually or jointly.

          21.     At a minimum, the accounting should also include a chronological schedule of all

   cash receipts and cash disbursements. In addition, each transaction shall be classified as business

   or personal. All business transactions shall disclose the business purpose of the transaction. The

   accounting shall be provided in an electronic format such as Quicken, Excel, or other accounting

   or electronic format spreadsheet. In addition, Defendants shall supply true and accurate copies of

   any balance sheets, income statements, statements of cash flow, or statements of ownership

   equity previously prepared for Cryptsy’s business(es).




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                                       X. Notice to Third Parties

          22.     The Receiver shall promptly give notice of his appointment as he deems

   necessary or advisable to effectuate the operation of his appointment.

          23.     All persons and entities owing any obligation or debt to Cryptsy shall, until

   further ordered by this Court, pay all such obligations in accordance with the terms thereof to the

   Receiver and his receipt for such payments shall have the same force and effect as if Cryptsy had

   received such payment.

          24.     The Receiver is authorized to instruct the United States Postmaster to hold and/or

   reroute mail which is related, directly or indirectly, to the business, operations or activities of

   Cryptsy (the “Receiver’s Mail”), including all mail addressed to, or for the benefit of, Cryptsy.

   The Postmaster shall not comply with, and shall immediately report to the Receiver, any change

   of address or other instruction given by anyone other than the Receiver concerning the

   Receiver’s Mail. Cryptsy shall not open any of the Receiver’s Mail and shall immediately turn

   over such mail, regardless of when received, to the Receiver.            All personal mail of any

   individual, and/or any mail appearing to contain privileged information, and/or any mail not

   falling within the mandate of the Receiver, shall be released to the named addressee by the

   Receiver. The foregoing instructions shall apply to any proprietor, whether individual or entity,

   of any private mail box, depository, business or service, or mail courier or delivery service,

   hired, rented or used by Cryptsy.    Cryptsy shall not open a new mailbox, or take any steps or

   make any arrangements to receive mail in contravention of this Order, whether through the U.S.

   Mail, a private mail depository or courier service.

          25.     The Receiver is authorized to instruct Cryptsy’s website hosting company and ISP

   to hold and/or reroute any and all electronic mail which is related, directly or indirectly, to the



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   business, operations or activities of Cryptsy (the “Receiver’s Electronic Mail”), including all

   electronic mail addressed to, or for the benefit of, Cryptsy or any of Cryptsy’s officers, directors,

   managers, agents or employees in their capacity as such for Cryptsy. The website hosting

   company and ISP shall not comply with, and shall immediately report to the Receiver, any

   change of Internet or e-mail address or other instruction given by anyone other than the Receiver

   concerning the Receiver’s Electronic Mail.        Cryptsy shall not open any of the Receiver’s

   Electronic Mail and shall immediately turn over such electronic mail, regardless of when

   received, to the Receiver. All personal electronic mail of any individual, and/or any electronic

   mail appearing to contain privileged information, and/or any electronic mail not falling within

   the mandate of the Receiver, shall be released to the named addressee by the Receiver. The

   foregoing instructions shall apply to any proprietor, whether individual or entity, of any private

   electronic mail box, depository, business or service, or electronic mail service provider hired or

   used by Cryptsy. Cryptsy shall not open a new electronic mailbox, or take any steps or make

   any arrangements to receive electronic mail in contravention of this Order.

          26.     The Receiver is authorized to assert, prosecute and/or negotiate any claim under

   any insurance policy held by or issued on behalf of Cryptsy, its officers, directors, employees or

   agents, and to take any and all appropriate steps in connection with such policies.

                                  XI. Injunction against Interference

          27.     Cryptsy and all persons receiving notice of this Order by personal service,

   electronic mail, facsimile transmission or otherwise, are hereby restrained and enjoined from

   directly or indirectly taking any action or causing any action to be taken, without the express

   written agreement of the Receiver, which would:

          A. Interfere with the Receiver’s efforts to take control, possession, or management of
             any of Cryptsy’s property; such prohibited actions include, but are not limited to,

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                using self-help or executing or issuing or causing the execution or issuance of any
                court attachment, subpoena, replevin, execution, or other process for the purpose of
                impounding or taking possession of or interfering with or creating or enforcing a lien
                upon any of Cryptsy’s property;

          B. Hinder, obstruct or otherwise interfere with the Receiver in the performance of his
             duties; such prohibited actions include, but are not limited to, concealing, destroying
             or altering records or information;

          C. Dissipate or otherwise diminish the value of any of Cryptsy’s property; such
             prohibited actions include, but are not limited to, releasing claims or disposing,
             transferring, exchanging, assigning or in any way conveying any of Cryptsy’s
             property, enforcing judgments, assessments or claims against Cryptsy or its property,
             attempting to modify, cancel, terminate, call, extinguish, revoke or accelerate (the due
             date), of any lease, loan, mortgage, indebtedness, security agreement or other
             agreement executed by Cryptsy or which otherwise affects any of its property;

          D. Dissipate, withdraw, transfer, remove, dispose or conceal any cash, cashier’s checks,
             funds, assets or other property of, or within the custody, control or actual or
             constructive possession of Cryptsy, including, but not limited to, all funds, personal
             property, monies, funds, cryptocurrencies, or securities held in Cryptsy’s name,
             jointly or individually, whether held or maintained in safety deposit boxes, and
             including all funds on deposit in any bank, cryptocurrency exchange, clearing firm,
             brokerage firm or other financial institution, futures commission merchant, bank or
             savings and loan account held by, under the actual or constructive control, or in the
             name of Cryptsy, jointly or individually, funds or property of Cryptsy’s investors or
             customers, wherever located, whether held in the name of the Cryptsy, jointly or
             individually, or any other entity owned or controlled by Cryptsy, jointly or
             individually;

          E. Destroy, mutilate, conceal, alter or dispose of, in any manner, any of the books and
             records, documents, correspondence, brochures, manuals, electronically stored data,
             tape records or other property of Cryptsy wherever located, including all such records
             concerning Cryptsy’s business operations; or

          F. Interfere with or harass the Receiver, or interfere in any manner with the exclusive
             jurisdiction of this Court over Cryptsy.

          28.      Cryptsy, its officers, directors, employees and agents, and all other persons or

   entities served with a copy of this Order, shall cooperate with and assist the Receiver in the

   performance of his duties.




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          29.     The Receiver shall promptly notify this Court of any failure or apparent failure of

   any person or entity to comply in any way with the terms of this Order.

          30.     The injunctive provisions of this Order shall be binding on Defendants, upon any

   person insofar as he or she is acting in the capacity of officers, directors, employees and agents,

   and upon any person who receives actual notice of this Order by personal service, electronic

   mail, facsimile transmission or otherwise, including Federal Express or other commercial

   overnight service.

                              XII.    Directives to Financial Institutions

          31.     Pending further Order of this Court, any bank, cryptocurrency exchange, clearing

   firm, brokerage firm or other financial institution, business entity, or person that holds, controls,

   or maintains custody of any cryptocurrencies, monies, funds, accounts, commodity interests, real

   estate, assets, liabilities, electronically stored information, and other property of any kind owned,

   controlled, managed, or held by, on behalf of, or for the benefit of Cryptsy, its investors or

   customers, or has held, controlled, or maintained custody of any cryptocurrencies, monies, funds,

   accounts, commodity interests, real estate, assets, liabilities, and other property of any kind

   owned, controlled, managed, or held by, on behalf of, or for the benefit of Cryptsy, its investors

   or customers at any time since, shall:

          A.      Provide immediate access to the Receiver of: (a) the identification number of each
                  and every such account or asset titled in the name, individually or jointly, of
                  Cryptsy, or owned, controlled, managed, or held by, on behalf of, or for the
                  benefit of Cryptsy, its investors or customers; (b) the balance of each such
                  account, or a description of the nature and value of such asset as of the close of
                  business on the day on which this Order is served, and, if the account or other
                  asset has been closed or removed, the date closed or removed, the total funds
                  removed in order to close the account, and the name of the person or entity to
                  whom such account or other asset was remitted; and (c) the identification of any
                  safe deposit box that is either titled in the name, individually or jointly, of Cryptsy
                  or is otherwise subject to access by Cryptsy; and



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          B.      Copies of all records or other documentation pertaining to such account or asset,
                  including, but not limited to, originals or copies of account applications, account
                  statements, signature cards, checks, drafts, deposit tickets, transfers to and from
                  the accounts, all other debit and credit instructions or slips, currency transactions
                  reports, 1099 forms, and safe deposit box logs;

          C.      Prohibit Defendants and any person other than the Receiver from withdrawing,
                  removing, assigning, transferring, pledging, encumbering, disbursing, dissipating,
                  converting, selling or otherwise disposing of any such asset except as directed by
                  further Order of this Court;

          D.      Deny Defendants and any person other than the Receiver access to any safe
                  deposit box that is titled in the name of Cryptsy, either individually or jointly; or
                  otherwise subject to access by the Defendants; and

          E.      Cooperate with all reasonable requests of the Receiver relating to implementation
                  of this Order, including producing records related to Cryptsy’s accounts and
                  business(es).


                                        XIII. Managing Assets

          32.     The Receiver may establish one or more custodial accounts at a federally insured

   bank to receive and hold all funds of Cryptsy. Such deposit accounts shall be titled in the

   Receiver’s name.

                                      XIV. Conflicts of Interest

          33.     The Receiver has a continuing duty to ensure that there are no conflicts of interest

   between himself and Cryptsy.

                      XV. Limitations on Liability of Receiver and His Agents

          34.     Until further Order of this Court, the Receiver shall not be required to post bond

   or give an undertaking of any type in connection with his fiduciary obligations in this matter.

          35.     The Receiver and all persons hired by Receiver are entitled to rely on all

   outstanding rules of law and Orders, and shall not be liable to anyone for their own good faith

   compliance with any Order, rule, law, judgment or decree. In no event shall the Receiver or


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   persons hired by Receiver be liable to anyone (1) with respect to the performance of their duties

   and responsibilities as Receiver or persons hired by Receiver, or (2) for any actions taken or

   omitted by them, except upon a finding by this Court that they acted or failed to act as a result of

   malfeasance, bad faith, gross negligence, or in reckless disregard of their duties. Nothing in this

   provision is intended to provide a defense against liability for any actions taken by Defendants or

   their personnel prior to the appointment of the Receiver.

          36.     This Court shall retain jurisdiction over any action filed against the Receiver or

   his agents based upon acts or omissions committed in their representative capacities.

          37.     In the event the Receiver decides to resign, he shall first give written notice to

   Plaintiffs’ counsel of record and this Court of his intention, and the resignation shall not be

   effective until this Court appoints a successor Receiver. The Receiver shall then follow such

   instructions as this Court may provide.

                                 XVI. Recommendations and Reports

          38.     Upon his appointment, the Receiver shall perform an assessment of the viability

   of Cryptsy as a going business enterprise and options and alternatives for its future.

          39.     Within thirty (30) calendar days of the entry date of this Order, the Receiver shall

   file with this Court and serve on the parties a report of his conclusions and recommendations.

          40.     The Receiver shall maintain written accounts, itemizing receipts and

   expenditures, describing properties held or managed, and naming the depositories of receivership

   funds; make such written accounts and supporting documentation available to Plaintiffs and

   other Cryptsy investors and customers for inspection, and, within ninety (90) calendar days of his

   first report and every ninety (90) calendar days thereafter file with this Court and serve on the




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   parties a report summarizing efforts to marshal and collect assets, administer the receivership

   estate, and otherwise perform the duties mandated by this Order.

                               XVII. Fees, Expenses, and Accountings

           41.    The Receiver need not obtain Court approval prior to the disbursement of

   Cryptsy’s funds for expenses in the ordinary course of the administration and management of

   Cryptsy. Further, prior Court approval is not required for payments of applicable federal, state or

   local taxes.

           42.    The Receiver and all professionals he retains are entitled to compensation deemed

   to be reasonable and appropriate for their work. The Receiver’s standard hourly rate is currently

   $400-$500, and the Receiver is approved for an hourly rate of $400 in this matter. The Receiver

   is authorized to file motions to employ professionals, such as attorneys and/or accountants,

   whose rates will be disclosed in same.

           43.    The Receiver and his professionals, such as attorneys and/or accountants, shall

   file a periodic fee application for payment of reasonable fees and reimbursement of actual

   incurred costs.   The fee/cost applications shall be filed at a time that the Receiver deems

   appropriate in his discretion. The Receiver and his professionals shall include in the fee/cost

   applications their statements for services for the relevant months of work and shall serve same on

   counsel for parties in this action. Both the Receiver’s and his professionals’ statements shall

   contain itemized time entries with the daily hours spent on receivership matters.

           44.    The compensation of the Receiver and his professionals shall be entitled to

   priority as administrative expenses. The Receiver shall not increase the hourly rates used as the

   bases for such fee applications without prior approval of this Court.




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                                           XIII. Service of This Order

            45.    Copies of this Order may be served by any means, including by way of personal

   service, Federal Express or other commercial overnight service, electronic mail or facsimile

   transmission, upon any financial institution or any other entity or any other person that may have

   possession, custody, or control of any documents or assets of Cryptsy or that may be subject to

   any provision of this Order. The Receiver and his agents are hereby specially appointed to serve

   process, and/or effectuate service of process, including this Order and all other papers in this

   cause.

                               XIX. Preservation of Rights and Privileges

            46.    Nothing in this Order shall be construed to require that any Defendants abandon

   or waive any constitutional or legal privilege which they may have available to them.

                                                  XX.      No Bond

            47.    The Receiver is appointed without bond.

                                      XXI. Court Maintains Jurisdiction

            48.    This Order shall remain in full force and effect during the pendency of this case,

   or until further Order of this Court, upon application, notice and an opportunity to be heard, and

   that this Court retains jurisdiction of this matter for all purposes related to this action.

            DONE AND ORDERED in Chambers at West Palm Beach, Florida, this 4th day of

   March, 2016.




                                                                   KENNETH A. MARRA
                                                                   United States District Judge




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   Copies to:
    Counsel and parties of record




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